                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


JERARD HAMPTON,

              Plaintiff,

      v.                                              Case No. 19-CV-688

BRIAN FOSTER, et al.,

              Defendants.


                                       ORDER


      On January 22, 2020 I granted Hampton’s motion to recruit counsel. (Docket

#34). To expedite finding Hampton an attorney, I will refer this case to the Eastern

District of Wisconsin Bar Association (EDWBA) who have agreed to assist the court

in the recruitment process. The volunteer lawyers working on recruitment will be

unable to effectively assist the court in the recruitment process if their mental

impressions, conclusions, opinions or legal theories that are generated during the

recruitment process are subject to future discovery by any party, whether or not they

are provided to pro bono counsel.

      Accordingly, finding good cause under Federal Rule of Civil Procedure 26(c)

and Civil Local Rule 26(e),

      IT IS THEREFORE ORDERED that all mental impressions, conclusions,

opinions, or legal theories generated by the EDWBA volunteer lawyers working on

the recruitment process for this case (as well as paralegals, other administrative staff




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or law students working under the direction of the lawyers), including those provided

to pro bono counsel as part of the recruitment process, are confidential attorney work-

product and are not subject to discovery in this case (or in any other case involving

the same plaintiff). To encourage full and frank discussion, all communications

during the recruitment process, oral and written, are strictly confidential, regardless

of whether the recruitment is successful in securing pro bono counsel.

      Within 30 days of the referral to the EDWBA, and regularly thereafter, the

volunteer attorneys will provide to the court a confidential update regarding the

status of the EDWBA’s recruitment efforts. The update may be provided by email to

chambers. The court will issue a further order to the parties regarding the outcome

of the EDWBA’s recruitment efforts, and plaintiff will be provided the opportunity to

consent to any recruited pro bono counsel.

      Dated at Milwaukee, Wisconsin, this 2nd day of October, 2020.

                                              BY THE COURT:


                                              s/Nancy Joseph
                                              NANCY JOSEPH
                                              United States Magistrate Judge




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